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UNITED STATES DISTRICT COURT
DISTRICT MAINE

STACEY DAY, GREGORY HOAR,
AND MICHAEL CROCKETT

Plaintiffs

Vv.

TOWN OF BUXTON, CIVIL NO. 2:16-cv-00377-JHR
BUXTON POLICE DEPARTMENT
AND

BUXTON CHIEF OF POLICE
MICHAEL 8S. GROVO,

BUXTON POLICE OFFICER
ANDREW WARD,

BUXTON POLICE OFFICER KEVIN
COLLINS, AND BUXTON

POLICE OFFICER JASON JOINER,

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Defendants
STIPULATION OF DISMISSAL

NOW COMES the parties, Plaintiffs Stacey Day, Gregory Hoar and Michael Crockett by and
through undersigned counsel, Karen Wolfram, Esq., Defendant Buxton Police Officer Andrew Ward by
and through undersigned counsel, John J. Wall, III, Esq., and Defendants Town of Buxton, Buxton
Police Department, Buxton Chief of Police Michael S. Grovo, Buxton Police Officer Kevin Collins and
Buxton Police Officer Jason Joiner by and through undersigned counsel Edward R. Benjamin, Jr., Esq.,
and stipulate pursuant to Federal Rule of Civil Procedure 41(a) to dismissal of this action with prejudice

and without costs to any party.

Dated at Kennebunk, Maine this 10th day of February 2017.

/S/ Karen Wolfram
Karen Wolfram, Esq. (Bar No: 9312)
Attorney for Plaintiffs
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/S/ John J. Wall, TI

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/S/ Edward R. Benjamin, Jr.
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CERTIFICATE OF SERVICE

 

I hereby certify that on February 10, 2017, I electronically filed the Stipulation of Dismissal
using the CM/ECF system, which will send notification of such to me and the following other
counsel of record: ebenjamin@dwmlaw.com; kpark@dwmlaw.com; jwall@monaghanleahy.com.

Dated at Kennebunk, Maine this 10th day of February, 2017.

/s/ Karen E. Wolfram

Karen E. Wolfram, Esq. (Bar No: 9312)
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